Case 2:18-cv-07560-AB-FFM Document 89 Filed 08/21/19 Page 1 of 2 Page ID #:1625



 1

 2

 3

 4

 5

 6

 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10   Seiko Epson Corporation and Epson       )      Case No. 2:18-cv-07560-AB (FFMx)
     America, Inc.,                          )
11                                           )      [PROPOSED] ORDER
                             Plaintiffs,     )      GRANTING PLAINTIFFS’ EX
12          v.                               )      PARTE APPLICATION FOR
                                             )      ORDER FOR ALTERNATIVE
13
     Oleksandr Benedychuk; Wisemine          )      EMAIL SERVICE, AND FOR
                                             )      EXTENSION OF TIME TO
14   Trading Ltd.; Vasyl Kedyk; Sitrol       )      SERVE
     Intertrading Ltd. A/K/A Kekrodi         )
15
     Intertrading Ltd.; Denis Smotrov; Denis )
                                             )
16   Smotrov LLC; Anton Hashynov;            )
     Vladislav Bondarenko; Viktor Boiko;     )
17
     Laszlo Kedik; Andrey Klimenko; Iurii    )
                                             )
18   Ganychenko; Andriy Stebliv; Larysa      )
     Ponomarenko; Volodymyr Shevchun;        )
19
     Liliia Stakhova; Veleriya Kosolapova;   )
                                             )
20   Nina Kozlova; Denis Evseev; Tymur       )
     Isaiev; Ihor Kobylinskyi; Vladyslav     )
21
     Pankov; Andrii Pavlov; Roman            )
                                             )
22   Kholodov; Anton Kovalkov; Oleksandr )
     Bobyr; and Does 1-10, inclusive,        )
23                                           )
                                             )
24                           Defendants.     )
                                             )
25

26
             The Court has read and considered all papers filed in connection with Seiko
27
     Epson Corporation and Epson America, Inc. (collectively “Plaintiffs”) Application
28

     Order                                    -1-
Case 2:18-cv-07560-AB-FFM Document 89 Filed 08/21/19 Page 2 of 2 Page ID #:1626



 1   For Order For Alternative Email Service, And For Extension Of Time To Serve
 2
     (“Application”), and good cause having been shown, GRANTS Plaintiffs’
 3
     Application and ORDERS the following:
 4
             1) IT IS ORDERED THAT Plaintiffs may electronically serve the following
 5
               Defendants with process by email to the following email addresses:
 6
                        Defendant                         Email Address
 7
             Oleksandr Benedychuk                 o.benedychuk@yahoo.com
 8
             Vasyl Kedyk                          sitrol.company@gmail.com
 9
             Denis Smotrov                        coast0220@gmail.com
10
             Denis Smotrov LLC                    coast0220@gmail.com
11
             Anton Hashynov                       antongari1212@gmail.com
12                                                antongaril1212@gmail.com
13           Laszlo Kedik                         coast0220@gmail.com
14
                                                  laszlokedik@gmail.com

15
             Veleriya Kosolapova                  depa00777@gmail.com

16
             Ihor Kobylinskyi                     fox80801@gmail.com
             Iurii Ganychenko                     iurii_ganychenko@ukr.net
17

18
             2) IT IS FURTHER ORDERED THAT Plaintiffs shall have through and until
19
               February 11, 2020, to serve any unserved Defendants with the Summons
20
               and First Amended Complaint.
21

22
     IT IS SO ORDERED.
23

24
     Dated: August 21, 2019                        ___________________________
25                                                 Hon. André Birotte Jr.
                                                   United States District Judge
26

27

28

     Order                                  -2-
